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United States District Court 95 Jw_ ..7 m 6= m ~ q
Western District of Tennessee l I|-WAS n _ 7 ,
umw mim'wm ~
United States of America ) ` m ` ' \` `
)
vs )
) /
Mordical owens ) case No. 05-20114-001 -/ mm

CONSENT TO MODIFY CONDITIONS OF RELEASE'

I, Mordical Owens, have discussed with Loretta Fleming, Pretrial Services/Probation Ot`ficer,
modification of my release conditions as follows:

l. No access to personal identification information

I consent to this modification of my release conditions and agre to abide by this modification
m ;m,@g@,@g@ Caao-on£Mw/m "
d w

Signatnre of Dcfendant Datc Pretrial ServicesfProbation Ot’f`lccr

 

 

Signature of Defense Counse| Datc

,_
The above modification of conditions of release is ordered, to be effective on \iu% é}a).i/

[ ] The above modification of conditions of release is n_ot ordered.

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Signature of ludicial Offlcer Date

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 13 in
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Honorable Sarnuel Mays
US DISTRICT COURT

